  AO 245C (Rev. Case  2:12-cr-00113-JCM-VCF
                   ) Amended Judgment in a Criminal Case                    Document 350            Filed 08/26/15 (NOTE:
                                                                                                                      Page    1 of
                                                                                                                          Identify   10 with Asterisks (*))
                                                                                                                                   Changes
          Sheet 1


                                             UNITED STATES DISTRICT COURT
                                                                            District of                                       Nevada

          UNITED STATES OF AMERICA                                                     AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                       Case Number: 2:12-CR-0113-JCM-VCF
                  JEANNE WINKLER (14)
                                                                                       USM Number: 46887-048
Date of Original Judgment:                 6/16/2015                                   JEREMY DELICINO, CJA
(Or Date of Last Amended Judgment)                                                     Defendant’s Attorney

Reason for Amendment:
   Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                         Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                          Modification of Imposed Term of Imprisonment for Extraordinary and
   P. 35(b))                                                                               Compelling Reasons (18 U.S.C. § 3582(c)(1))
   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                     Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                           to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                           Direct Motion to District Court Pursuant     28 U.S.C. § 2255 or
                                                                                               18 U.S.C. § 3559(c)(7)
                                                                                           Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
    pleaded guilty to count(s)          ONE [1] OF THE INFORMATION
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                   Offense Ended                  Count
 18 U.S.C.§1349                       Conspiracy to Commit Mail and Wire Fraud                                                                           1




       The defendant is sentenced as provided in pages 2 through                       6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                           is    are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 6/16/2015
                                                                                Date of Imposition of Judgment


                                                                                       Signature of Judge
                                                                                       James C. Mahan,                                U.S. District Judge
                                                                                       Name of Judge                                  Title of Judge
                                                                                        August 26, 2015
                                                                                       Date
 AO 245C     Case 2:12-cr-00113-JCM-VCF
            (Rev.      ) Amended Judgment in a Criminal Case     Document 350           Filed 08/26/15         Page 2 of 10
            Sheet 2 — Imprisonment                                                                         (NOTE: Identify Changes with Asterisks (*))

                                                                                                        Judgment — Page       2     of         6
 DEFENDANT: JEANNE WINKLER (14)
 CASE NUMBER: 2:12-CR-0113-JCM-VCF

                                                               IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
TIME SERVED




      The court makes the following recommendations to the Bureau of Prisons:




      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
            at                                             a.m         p.m.        on                                     .

            as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            before 12:00  p.m.
                   2 p.m. on                                              .

            as notified by the United States Marshal.

            as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                            to

 at                                                        with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                              By
                                                                                               DEPUTY UNITED STATES MARSHAL
               Case 2:12-cr-00113-JCM-VCF                          Document 350               Filed 08/26/15             Page 3 of 10
 AO 245C      (Rev.     ) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                 Judgment—Page        3      of         6
 DEFENDANT: JEANNE WINKLER (14)
 CASE NUMBER: 2:12-CR-0113-JCM-VCF
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

(3) years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state, or local crime.
The
 TheDefendant
       defendantshall notnot
                   shall   unlawfully possess
                              unlawfully       a controlled
                                           possess          substance.
                                                    a controlled       The defendant
                                                                  substance.         shall refrain
                                                                               The defendant       from
                                                                                                shall    any unlawful
                                                                                                       refrain from anyuseunlawful
                                                                                                                            of a controlled
                                                                                                                                      use ofsubstance. The
                                                                                                                                              a controlled
defendant
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drugthe
           shall submit  to one drug test within 15 days  of placement on probation and at least two  periodic drug tests thereafter, as determined by  tests
 thereafter,
court,        as determined
       not to exceed  104 testsby the court.
                                annually. Revocation is mandatory for refusal to comply.
        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defendant’s compliance with such notification requirement.
            Case 2:12-cr-00113-JCM-VCF                       Document 350     Filed 08/26/15        Page 4 of 10
AO 245C    (Rev.     ) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                              Judgment—Page              of         6
DEFENDANT: JEANNE WINKLER (14)
CASE NUMBER: 2:12-CR-0113-JCM-VCF

                                      SPECIAL CONDITIONS OF SUPERVISION
1. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.

2. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.

3. Mental Health Treatment - You shall participate in and successfully complete a mental health treatment program, which
may include testing, evaluation, and/or outpatient counseling, as approved and directed by the probation office. You shall
refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants while participating in mental health
treatment. Further, you shall be required to contribute to the costs of services for such treatment, as approved and directed
by the probation office based upon your ability to pay.

4. Community Service - You shall complete 100 hours of community service, as approved and directed by the probation
officer.

5. No Contact Condition - You shall not have contact, directly or indirectly, or associate with any co conspirators
associated with any related cases identified in the presentence report or be within 500 feet of any co conspirators
associated with any related cases identified in the presentence report, their residence or business. And if confronted by
any co conspirators in a public place, you shall immediately remove yourself from the area.

6. Warrant less Search - To ensure compliance with all conditions of release, the defendant shall submit to the search of
his/her person, and any property, residence, business or automobile under his/her control by the probation officer, or any
other authorized person under the immediate and personal supervision of the probation officer without a search warrant at
a reasonable time and in a reasonable manner. Provided, however, the defendant shall be required to submit to any
search only if the probation officer has reasonable suspicion to believe the defendant has violated a condition or conditions
of release.

7. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
court at the time of sentencing.


      ACK NOWL EDGEM ENT


      Upon finding of a violation of probation or supervised release, I understand that the court may
      (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
      supervision.

      These conditions have been read to me. I fully understand the conditions and have been provided
      a copy of them.


      (Signed)         _________________________                          ______________________
                       Defendant                                          Date


                      ___________________________                         _______________________
                      U.S. Probation/Designated Witness                   Date
              Case 2:12-cr-00113-JCM-VCF                        Document 350                 Filed 08/26/15          Page 5 of 10
 AO 245C    (Rev.     ) Amended Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                          Judgment — Page       4     of            6
 DEFENDANT: JEANNE WINKLER (14)
 CASE NUMBER: 2:12-CR-0113-JCM-VCF
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                           Fine                                 Restitution
 TOTALS           $ 100.00                                               $ 0.00                                $ 47,000.00


     The determination of restitution is deferred until                            . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                       Total Loss*                 Restitution Ordered        Priority or Percentage
Vistana HOA: Attn: Richard Haskin                                                  $47,000.00                                99.8%
7450 Arroyo Crossing Parkway, Ste. 270
Las Vegas, NV 89113


Park Avenue HOA:                                                                                                             0.2%
Park Avenue Homeowners Association, c/o
FirstService Residential
8290 Arville Street,
Las Vegas, NV 89139




 TOTALS                                                              $                            $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

           the interest requirement is waived for             fine            restitution.

           the interest requirement for              fine                restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
       Case 2:12-cr-00113-JCM-VCF   Document 350       Filed 08/26/15   Page 6 of 10




 1
                      UNITED STATES DISTRICT COURT
 2                         DISTRICT OF NEVADA
 3                                -oOo-
 4   UNITED STATES OF AMERICA,         )
                                       )
 5               Plaintiff,            )
                                       )
 6               v.                    )
 7                                     )       CASE NO. 2:13-cr-00018-JCM-GWF
     LEON BENZER, et al.               )
 8                                     )
                 Defendants.           )
 9                                     )
                                       )
10   UNITED STATES OF AMERICA,         )
                                       )
11               Plaintiff,            )
                                       )       CASE NO. 2:12-cr-00113-JCM-VCF
12               v.                    )
                                       )
13   ROSALIO ALCANTAR, et al.          )
                                       )
14
                 Defendants.           )
15                                     )
     UNITED STATES OF AMERICA,         )
16                                     )
                 Plaintiff,            )
17                                     )       CASE NO. 2:11-cr-00336-JCM-GWF
                 v.                    )
18                                     )
     MARY ANN WATTS,                   )
19                                     )
20               Defendant.            )

21   UNITED STATES OF AMERICA,         )
                                       )
22               Plaintiff,            )         CASE NO. 2:11-cr-00339-LDG-GWF
                                       )
23               v.                    )
                                       )
24   DEBORAH GENATO,                   )
                                       )
25
                 Defendant.            )
26                                     )




                                           1
        Case 2:12-cr-00113-JCM-VCF             Document 350       Filed 08/26/15     Page 7 of 10



     UNITED STATES OF AMERICA,                     )
 1                                                 )
                     Plaintiff,                    )       CASE NO. 2:14-cr-00010-JCM-VCF
 2                                                 )
                     v.                            )
 3                                                 )
     BARRY LEVINSON,                               )       SECOND AMENDED FINAL OMNIBUS
 4                                                 )       RESTITUTION ORDER
 5                   Defendant.                    )
 6

 7            Based on findings made during the sentencings of the individual defendants enumerated
 8   below, the Court hereby enters the following order regarding restitution in the above-captioned
 9   cases.
10            The following defendants are ordered to pay up to the following dollar amounts, jointly
11   and severally, as restitution to the Vistana Homeowners’ Association and the Park Avenue
12   Homeowners’ Association. Of restitution payments received, 99.8% shall be directed to the
13   Vistana HOA, and 0.2% shall be directed to the Park Avenue HOA, as is commensurate with
14   their share of the restitution awards.
15

16                                                                      Restitution Amount
                                                                        (Joint and Several
17                Defendant Name                Case Number                  Liability)
               Alcantar, Rosalio         2:12-cr-00113-JCM-VCF                    $25,826.20
18
               Alvarez, Jose Luis        2:13-cr-00018-JCM-GWF                   $184,200.84
19             Alvarez-Rodriguez,
               Rudolfo                   2:13-cr-00018-JCM-GWF                   $119,585.81
20             Anderson, Ricky           2:13-cr-00018-JCM-GWF                     $41,642.49
21             Benzer, Leon              2:13-cr-00018-JCM-GWF                 $12,228,913.40
               Bolten, Robert            2:12-cr-00113-JCM-VCF                   $135,932.36
22             Brown, Glenn              2:12-cr-00113-JCM-VCF                      $5,295.00
23             Deluca, Michelle          2:12-cr-00113-JCM-VCF                     $10,000.00
               Genato, Deborah           2:11-cr-00339-LDG-GWF                     $30,000.00
24             Gillespie, Edith          2:13-cr-00018-JCM-GWF                     $85,780.00
25

26




                                                       2
         Case 2:12-cr-00113-JCM-VCF          Document 350        Filed 08/26/15      Page 8 of 10




             Gregory, Keith            2:13-cr-00018-JCM-GWF                 $12,154,913.401
 1
             Hawkins, Charles          2:12-cr-00113-JCM-VCF                    $147,884.00
 2           Hindiyeh, Sami            2:12-cr-00113-JCM-VCF                       $6,000.00
             Jones, Brian              2:12-cr-00113-JCM-VCF                      $10,000.00
 3
             Levinson, Barry           2:14-cr-00010-JCM-VCF                 $12,228,913.402
 4           Limon, Maria              2:13-cr-00018-JCM-GWF                      $24,000.00
             Mattingly, Morris         2:12-cr-00113-JCM-VCF                    $190,471.03
 5
             Watts, Mary Ann           2:11-cr-00336-JCM-GWF                      $39,350.00
 6           Winkler, Jeanne           2:12-cr-00113-JCM-GWF                      $47,000.00
 7

 8          These funds should be directed to the following:
 9                  Vistana HOA: Attn: Richard Haskin, 7450 Arroyo Crossing Parkway, Suite 270,
10                  Las Vegas, NV 89113
11                  Park Avenue HOA: Park Avenue Homeowners Association, c/o FirstService
12                  Residential, 8290 Arville Street, Las Vegas, NV 89139
13          In addition, once Defendant Leon Benzer has satisfied his mandatory restitution to the
14   above-listed HOAs (or other defendants have paid the $12,228,913.40 he owes to those HOAs),
15   Defendant Leon Benzer is hereby ordered to pay $1,165,186.81 in restitution to the United States
16   Treasury, pursuant to the restitution award in United States v. Benzer, Case No. 2:13-cr-174-
17   KJD-CWH. These funds should be directed to: IRS-RACS, Attn: Mail Stop 6261, Restitution,
18   333 W. Pershing Ave., Kansas City, MO 64108.
19   /
20   /
21   /
22

23   1
            The Court originally ordered Defendant Gregory to pay $12,604,913.40 in restitution.
            However, Defendant Gregory should have received a credit for the $450,000 paid to
24          Silver Lining Construction but ultimately recovered by the Vistana HOA, and his
25          restitution amount is hereby reduced by that amount.
     2
            The Court originally ordered Defendant Levinson to pay $19,000,000 in restitution.
26          However, given that Defendant Leon Benzer was ordered to pay $12,228,913.40 in
            restitution and Leon Benzer was the leader of the conspiracy, Defendant Levinon’ s
            restitution award should not exceed Defendant Benzer’ s.


                                                     3
     Case 2:12-cr-00113-JCM-VCF    Document 350      Filed 08/26/15   Page 9 of 10




 1      IT IS SO ORDERED.

 2             August 18, 2015.
        Dated: ____________

 3

 4                         ENTERED: _________________________

 5

 6                                    United States District Judge

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                                         4
             Case 2:12-cr-00113-JCM-VCF                       Document 350           Filed 08/26/15          Page 10 of 10
AO 245C     (Rev.     ) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page      5       of         6
DEFENDANT: JEANNE WINKLER (14)
CASE NUMBER: 2:12-CR-0113-JCM-VCF

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A          Lump sum payment of $ 100.00                       due immediately, balance due

               not later than                                    , or
               in accordance with          C,         D,         E, or      F below; or

B          Payment to begin immediately (may be combined with              C,          D, or       F below); or

C          Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:

          Restitution Re-Payment - You shall make restitution payments at a rate at no less than 10% of gross income
          subject to an adjustment by the probation officer based upon your ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.
    "SEE SECOND AMENDED FINAL OMNIBUS RESTITUTION ORDER ATTACHED"




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
